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                                                                                       Volvo Car USA LLC
                                                                                     7
                                                                                     8                        UNITED STATES DISTRICT COURT
                                                                                     9                      CENTRAL DISTRICT OF CALIFORNIA
                                                                                    10 JACK SCHROEDER, an                          No.: 2:20-cv-05127-VAP (PVC)
                                                                                       Individual; and BRITNI SUMIDA, an
                 A limited liability partnership formed in the State of Delaware




                                                                                    11 individual;                                 DECLARATION OF HARRISON J.
                                                                                                                                   DOSSICK IN SUPPORT OF
                                                                                    12                                             DEFENDANT VOLVO CAR USA
                                                                                                          Plaintiffs,              LLC’S REQUEST FOR JUDICIAL
REED SMITH LLP




                                                                                    13                                             NOTICE
                                                                                             vs.
                                                                                    14                                             Date:             September 14, 2020
                                                                                       VOLVO GROUP NORTH AMERICA,                  Time:             2:00 p.m.
                                                                                    15 LLC, a Delaware limited liability           Place:            Courtroom 8A_
                                                                                       company; and VOLVO CAR USA LLC, a
                                                                                    16 Delaware limited liability company          Compl. Filed:     June 9, 2020
                                                                                                                                   FAC Filed:        June 29, 2020
                                                                                    17                    Defendants.              SAC Filed:        July 28, 2020
                                                                                    18                                             Honorable Virginia A. Phillips
                                                                                    19                                             [Notice of Motion and Motion to
                                                                                                                                   Dismiss, Request for Judicial Notice, and
                                                                                    20                                             [Proposed] Order filed concurrently]
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                                                                                           DECLARATION OF HARRISON J. DOSSICK IN SUPPORT OF DEFENDANT VOLVO CAR USA LLC’S
                                                                                                                    REQUEST FOR JUDICIAL NOTICE
                                                                                   Case 2:20-cv-05127-VAP-PVC Document 18 Filed 08/10/20 Page 2 of 3 Page ID #:156



                                                                                     1                    DECLARATION OF HARRISON J. DOSSICK
                                                                                     2
                                                                                     3 I, Harrison J. Dossick, declare:
                                                                                     4        1.     I am an attorney duly licensed to practice before all courts of the State of
                                                                                     5 California and a partner with Reed Smith LLP, counsel of record for defendant Volvo
                                                                                     6 Car USA LLC (“Defendant”). I submit this declaration in support of Defendant’s
                                                                                     7 Request for Judicial Notice (“RJN”), filed concurrently with and in support of its
                                                                                     8 Motion to Dismiss the Second Amended Complaint (“SAC”) of Plaintiffs Jack
                                                                                     9 Schroeder and Britni Sumida (collectively, “Plaintiffs”). The following facts are true
                                                                                    10 of my personal knowledge, and if called to testify, I could and would testify to the
                 A limited liability partnership formed in the State of Delaware




                                                                                    11 truth of the matters stated herein.
                                                                                    12        2.     The documents attached as Exhibits 1 through 21 to the RJN are true and
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                                                                                    13 correct copies of screenshots taken of the webpages accessible from the links provided
                                                                                    14 in the RJN and herein below.
                                                                                    15        3.     Although the contents of most of Exhibits 1 through 21 can be readily
                                                                                    16 verified from the links provided in the RJN and below, two of the RJN exhibits
                                                                                    17 contain screenshots of content that no longer is accessible from the referenced URLs.
                                                                                    18 Specifically, Exhibit 2 to the RJN contains a screen shot of Porch House’s Behance
                                                                                    19 Page Photo Gallery located at https://www.behance.net/gallery/82978165, which I
                                                                                    20 personally accessed and printed on May 18, 2020. I was informed on or about May
                                                                                    21 29, 2020, that Porch House removed this gallery from Behance.net sometime after
                                                                                    22 May 22, 2020. Similarly, Exhibit 3 to the RJN contains a screen shot of a photograph
                                                                                    23 that Porch House posted to its Instagram page on July 8, 2019 located at
                                                                                    24 https://instagram.com/p/Bzqp4xxqB29b, which I personally accessed and printed on
                                                                                    25 or about May 18, 2020. I was informed on or about May 29, 2020, that Porch House
                                                                                    26 removed this gallery from Instagram.com sometime after May 22, 2020.
                                                                                    27        4.     Exhibit 12 to the RJN is a true and correct copy of a screenshot of
                                                                                    28
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                                                                                           DECLARATION OF HARRISON J. DOSSICK IN SUPPORT OF DEFENDANT VOLVO CAR USA LLC’S
                                                                                                                    REQUEST FOR JUDICIAL NOTICE
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                                                                                     1 Instagram’s “Sign Up” webpage, https://www.instagram.com/accounts/emailsignup/.
                                                                                     2 Underneath the “Sign up” button it states, “By signing up, you agree to our Terms,
                                                                                     3 Data Policy, and Cookies Policy.” The word “Terms” contains a hyperlink to
                                                                                     4 Instagram’s Terms of Service located at
                                                                                     5 https://help.instagram.com/581066165581870. The word “Data Policy” contains a
                                                                                     6 hyperlink to Instagram’s Data Policy located at
                                                                                     7 https://help.instagram.com/519522125107875.
                                                                                     8        5.    Exhibits 13-15 are archived screenshots of Instagram’s Website that
                                                                                     9 were obtained using the Internet Archive WayBack Machine. Upon information and
                                                                                    10 belief, the WayBack Machine functions as a digital archive of internet webpages
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                                                                                    11 which stores copies of what websites looked like in the past. This is accomplished
                                                                                    12 through a process known as “caching,” or the storing of information presented on
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                                                                                    13 given webpages. The Internet Archive receives cached versions of webpages from
                                                                                    14 “crawlers,” automated software programs which scour the internet and downloads
                                                                                    15 copies of the webpages they visit. As a result of this process, the WayBack Machine
                                                                                    16 provides an accurate copy of prior versions of webpages.
                                                                                    17
                                                                                    18        I declare under penalty of perjury under the laws of the United States of
                                                                                    19 America that the foregoing is true and correct. Executed on August 10, 2020 in Los
                                                                                    20 Angeles County, California.
                                                                                    21
                                                                                    22                                                    /s/ Harrison J. Dossick
                                                                                                                                           Harrison J. Dossick
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                                                                                           DECLARATION OF HARRISON J. DOSSICK IN SUPPORT OF DEFENDANT VOLVO CAR USA LLC’S
                                                                                                                    REQUEST FOR JUDICIAL NOTICE
